Case: 2:21-cv-02240-SDM-CMV Doc #: 1-2 Filed: 05/03/21 Page: 1 of 4 PAGEID #: 5

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

EASTERN DIVISION

MARK ALLEN MECONNAUGHY

(Enter Above the Name of the Plaintiff in this Action)’

 

VS.
2:21-cv-2240
BELMonT County CourTHovse
(Enter above the name of the Défendant in this Action)
If there are additional Defendants, please list them: J udge Morrison

Magistrate Judge Vascura

 

 

 

COMPLAINT

I. Parties to the action:

Plaintiff: Place your name and address on the lines below. The address you give must be the address where
the court may contact you and mail documents to you. A telephone number is required.

MARK ALLEN ME Cou avGHy

Name - Full Name Please - PRINT

3546 MONROE ST. APT 43

Street Address

BELLAIRE, OHld 43906

City, State and Zip Code

-740- 345-1} 5Y

Telephone Number

If there are additional Plaintiffs in this suit, a separate piece of paper should be attached immediately behind this
page with their full names, addresses and telephone numbers. If there are no other Plaintiffs, continue with this
form.
Case: 2:21-cv-02240-SDM-CMV Doc #: 1-2 Filed: 05/03/21 Page: 2 of 4 PAGEID #: 6

i,

Defendant(s):

Place the name and address of each Defendant you listed in the caption on the first page of this Complaint. This
form is invalid unless each Defendant appears with full address for proper service.

. BELMONT COUNTY CovnTHOvse

Name - Full Name Please

[0] we MAIN ST- ST.CLAIRS VILLE OH10 Y 39.50

Address: Street, City, State and Zip Code

 

 

 

 

 

 

 

If there are additional Defendants, please list their names and addresses on a separate sheet of paper.

Subject Matter Jurisdiction

Check the box or boxes that describes your lawsuit:

M Title 28 U.S.C. § 1343(3)
[A civil rights lawsuit alleging that Defendant(s} acting under color of State law, deprived you of a
right secured by federal law or the Constitution.]

O Title 28 U.S.C. § 1331
[A lawsuit “arising under the Constitution, laws, or treaties of the United States.”]

O Title 28 U.S.C. § 1332(a)(1)
[A lawsuit between citizens of different states where the matter in controversy exceeds $75,000.]

Ol Title United States Code, Section
[Other federal status giving the court subject matter jurisdiction.]

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Ill. Statement of Claim

Please write as briefly as possible the facts of your case. Describe how each Defendant is involved. Include the
name of all persons involved, give dates and places.

Number each claim separately. Use as much space as you need. You are not limited to the papers we give you.
Attach extra sheets that deal with your statement claim immediately behind this piece of paper.

; COUNTY Cov & HAS AN ENTLY 1 DENY WG.

 
   

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AND ALC PHone CALLS | MAKE To THE CoURTHOUS E FRom MY HOME
PHONE AND HAS REFUSED To ALLOW ME Té REQUEST A CHANGE
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REPORT with THE Ohio ATTonNey GENERAL, T Am TRuLy

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Move Forwanp!

PS JT will REQUEST THE F.B.T PERFORM AN INVEST 6A Tow
UNDER TIPLE 18 V.$.C. SEcTion AY] CONSPIRACY AGAINST RiGHTy
Case: 2:21-cv-02240-SDM-CMV Doc #: 1-2 Filed: 05/03/21 Page: 4 of 4 PAGEID #: 8

IV. Previous lawsuits:

If you have been a Plaintiff in a lawsuit, for each lawsuit state the case number and caption.
(Example, Case Number: 2:08-cv-728 and Caption: John Smith vs. Jane Doe).

 

 

 

Case Number Caption
VS.
VS.
VS.
V. Relief

In this section please state (write) briefly exactly what you want the court to do for you. Make no legal
argument, cite no case or statutes.

ZT wish 76 BE ComPENSATED 1 000,000100 in DAMAGES

 

 

 

 

 

 

 

 

 

 

 

I state under penalty of perjury that the foregoing is true and correct. Executed on

tris RY May of Abiuc 20d

 

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